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                                             THE HONORABLE RICADO S. MARTINEZ




                     UNITED STATES DISTRICT COURT
               WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 NORTHWEST ADMINISTRATORS,
 INC.,                                        NO.     C21-00522-RSM

                      Plaintiff,
                                              STIPULATION AND ORDER FOR
               v.                             DISMISSAL WITH PREJUDICE

 NOR-CAL PRODUCE, INC., a California
 corporation,

                      Defendant.


       THE PARTIES above named, through their attorneys Russell J. Reid of Reid,

McCarthy, Ballew & Leahy, L.L.P., attorneys for Plaintiff, and Molly Gabel of Seyfarth

Shaw LLP, attorneys for Defendant, Nor-Cal Produce, Inc., hereby stipulate that the

above-referenced action should be dismissed, with prejudice, and with each party

bearing its own attorneys’ fees and costs.    This Stipulation shall not foreclose Plaintiff

or the Trust, based on res judicata principles or other legal principles, from collecting

additional contributions, liquidated damages, interest and attorneys’ fees for the time

period encompassed by this action, October 2020 through December 2020, if a future

audit or some other source reveals that Defendant owes the Plaintiff additional

amounts for said period, or from collecting contributions, liquidated damages, interest,

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attorney's fees and costs for any period other than October 2020 through December

2020.

        DATED this _14th day of October, 2021.



REID, McCARTHY, BALLEW &.                 SEYFARTH SHAW LLP
LEAHY, L.L.P.

s/Russell J. Reid                         s/Molly Gabel
Russell J. Reid, WSBA #2560               Molly Gabel, WSBA #47023
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Attorneys for Plaintiff                   Attorneys for Defendant

                               ORDER OF DISMISSAL

Based on the foregoing Stipulation of Plaintiff and Defendant,

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED that this action shall

be and is hereby dismissed with prejudice and that each party shall bear its own

attorneys’ fees and costs of suit. This Order shall not foreclose Plaintiff or the Trust,

based on res judicata principles or other legal principles, from collecting additional

contributions, liquidated damages, interest and attorneys’ fees for the time period

encompassed by this action, October 2020 through December 2020, if a future audit

or some other source reveals that Defendant owes the Plaintiff additional amounts for

said period, or from collecting contributions, liquidated damages, interest, attorney's

fees and costs for any period other than October 2020 through December 2020.



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      ORDER ENTERED this 27th day of October, 2021.




                                      A
                                      RICARDO S. MARTINEZ
                                      CHIEF UNITED STATES DISTRICT JUDGE




Submitted for Entry:


REID, McCARTHY, BALLEW & LEAHY, L.L.P.

By: s/Russell J. Reid_
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